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David Miller
Tel 212.801.9205
Fax 212.801.6400
david.miller@gtlaw.com




May 15, 2023



VIA ECF

Honorable Jesse M. Furman
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

           Re:     United States v. Nathaniel Chastain, No. 22-cr-305 (JMF)

Dear Judge Furman:

       Defendant Nathaniel Chastain respectfully submits this letter out of an abundance of
caution to ensure that the record is clear and that his Rule 29 motion for acquittal is fully
preserved.

        As the Court will recall, on April 27, 2023, toward the close of the government’s case, it
was agreed that the Court would “anticipatorily deem the defense to have made a Rule 29
motion” and the Court “to have reserved judgment on it.” (Tr. 558). After the government
rested, and shortly before the close of all the evidence (the defense called one witness), the Court
heard argument on the Rule 29 motion. (Tr. 666-671). The Court denied the motion as to Count
One (Tr. 667), and indicated as to Count Two that “[w]hether it’s reserved or denied, it’s going
to the jury.” (Tr. 671).

        After that ruling, the following morning, testimony from the final witness (the one
defense witness) in the case briefly resumed and concluded. Now that the presentation of all
evidence has been completed, and the jury has returned its verdict, the defense wishes to renew
its motion formally, to ensure that its argument that the evidence was insufficient to prove the
charged offenses beyond a reasonable doubt is preserved. To avoid burdening the Court, the
defense does not seek a further hearing or briefing. 1



1
 The defense does not intend to file a motion for new trial pursuant to Rule 33 of the Federal
Rules of Criminal Procedure.


    GREENBERG TRAURIG, LLP  ATTORNEYS AT LAW  WWW.GTLAW.COM
    One Vanderbilt Avenue  New York, New York 10017  Tel 212-801-9200  Fax 212-801-6400
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       Thank you for the Court’s consideration.

                                                        Respectfully submitted,

                                                        GREENBERG TRAURIG, LLP

                                                        By: /s/ David I. Miller
                                                        David I. Miller
                                                        Daniel P. Filor
                                                        Charles J. Berk
                                                        Nicholas T. Barnes
                                                        One Vanderbilt Avenue
                                                        New York, NY 10017
                                                        Telephone: (212) 801-9200
                                                        Facsimile: (212) 801-6400

                                                        Attorneys for Nathaniel Chastain




GREENBERG TRAURIG, LLP  ATTORNEYS AT LAW  WWW.GTLAW.COM
One Vanderbilt Avenue  New York, New York 10017  Tel 212-801-9200  Fax 212-801-6400
